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 6   Attorney for Defendant
     REGIONALD BELL
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8

 9                                 EASTERN DISTRICT OF CALIFORNIA

10                                      SACRAMENTO DIVISION
11   THE UNITED STATES OF AMERICA,                       Case No.: 12-CR-00198-MCE
12
                    Plaintiff,
13                                                       STIPULATION AND (PROPOSED)
     vs.
14                                                       ORDER TO MODIFY CONDITIONS OF
     REGINALD BELL,                                      RELEASE
15
                    Defendant.
16

17

18                  REGINALD BELL, by and through his counsel, Philip A. Schnayerson, and the
19
     United States Government, by and through its counsel, Richard Bender, Assistant United States
20
     Attorney and U.S. Pretrial Services Officer Michael R. Evans, stipulate and agree to the
21

22   following modifications of release:

23           1. Condition 3 of the conditions of release filed on May 30, 2012, be deleted and the
                following condition be added:
24

25           You are to reside at a location approved by the pretrial services officer and
             not move or absent yourself from this residence for more than 24 hours
26           without the prior approval of the pretrial services officer.
     /////
27

28
     /////
                                                     1
             Case 2:12-cr-00198-MCE Document 533 Filed 06/09/15 Page 2 of 2


 1   DATED:                              Respectfully submitted.
 2
                                           /s/ Philip A. Schnayerson
 3                                       Philip A. Schnayerson
                                         Attorney for Defendant
 4                                       Reginald Bell
 5
     DATED:                               /s/ Richard J. Bender
 6                                       Authorized to sign for Richard J. Bender
                                         Assistant United States Attorney
 7

 8
     IT IS SO ORDERED.
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     Dated: June 8, 2015.
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